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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9
        IN RE: AMAZON SERVICE FEE            Case No.: 2:22-cv-00743-TL
10      LITIGATION
                                             (CONSOLIDATED CASE)
11
                                             AMAZON.COM, INC’S REPLY IN
12                                           SUPPORT OF MOTION TO DISMISS
                                             AMENDED CONSOLIDATED
13                                           COMPLAINT AND STRIKE CERTAIN
                                             ALLEGATIONS
14
                                             NOTE ON MOTION CALENDAR:
15                                           MARCH 3, 2023
16                                           ORAL ARGUMENT REQUESTED
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     REPLY ISO MTN TO DISMISS                                      FENWICK & WEST LLP
                                                                1191 SECOND AVENUE, 10TH FLOOR
     AND TO STRIKE                                                SEATTLE, WASHINGTON 98101
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 1                                         INTRODUCTION

 2          Plaintiff’s core theory is that “Amazon charges a deceptive ‘service fee’ in connection with

 3 grocery deliveries from Whole Foods Market.” Opposition (“Opp.”) at 1. The Opposition tries to

 4 clarify the Consolidated Amended Complaint (“CAC”) and identifies Plaintiffs’ three central

 5 factual allegations. None of those allegations holds up or can support Plaintiff’s claims.

 6          As a threshold matter, Plaintiff asks the Court to delay its determination that Washington

 7 law applies. The Court should decline that invitation. This case is not yet a class action; as such,

 8 the only question before the Court is what law applies to Plaintiff and her claims. Plaintiff agreed

 9 to Amazon’s Prime Terms and Conditions of Use (“COUs”)—indeed, she is suing to enforce

10 them—and they require application of Washington law. Courts in this District routinely determine

11 applicable law at the dismissal stage and the Court should do so here.

12          Plaintiff advances three factual theories. “First, Plaintiff alleges that Amazon has engaged

13 in deceptive advertising by representing that Prime members will receive ‘FREE Delivery’ and

14 ‘FREE 2-Hour Grocery Delivery,’ including grocery deliveries from Whole Foods Market.”

15 Opp. at 2. But Plaintiff fails to satisfy Rule 9(b) because she provides no facts about when and

16 how she was exposed to these allegedly deceptive statements. Moreover, Plaintiff relies on

17 misleading citations, omitting details that make clear that those statements could refer to other

18 Amazon services, not WFM delivery.

19          “Second, Plaintiff alleges that ‘Amazon engages in a bait-and-switch advertising scheme

20 by not disclosing the $9.95 service fee along with the advertised price of the Whole Foods grocery

21 items.’” Opp. at 2. But Plaintiff alleges nothing about her own experience with Amazon’s website

22 or how she was personally deceived. Moreover, Plaintiff’s claims collapse in light of Amazon’s

23 multiple disclosures of the fee during the WFM checkout process. No reasonable consumer would

24 have any doubt that she was paying a delivery fee.

25          “Third, Plaintiff separately alleges that Amazon has breached its contracts with Amazon

26 Prime members by charging the $9.95 service fee for Whole Foods Market grocery deliveries.”

27 Opp. at 3. Wrong again. The Prime Terms say nothing about free WFM deliveries. To the

28 contrary, the terms specifically state that no Prime membership benefit is guaranteed and all
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 1 benefits are subject to change. A party cannot graft onto a contract implied terms that contradict

 2 the actual terms.

 3          All of Plaintiff’s claims fail as a matter of law, and this case should be dismissed in its

 4 entirety with prejudice.

 5                                            ARGUMENT

 6 I.       WASHINGTON LAW GOVERNS PLAINTIFF’S CLAIMS.

 7          Plaintiff does not dispute that she agreed to Amazon’s COUs, which the Ninth Circuit has

 8 determined are “valid.” Wiseley v. Amazon.com, Inc., 709 F. App’x 862, 863-64 (9th Cir. 2017)

 9 (Amazon customers agree to COUs through “checkout and account registration pages”); Ekin v.

10 Amazon Servs., LLC, 84 F. Supp. 3d 1172, 1175 n.5 (W.D. Wash. 2014) (Amazon’s Prime Terms

11 and COUs are “completely enforceable”). Instead, Plaintiff asks the Court to ignore the parties’

12 contractual choice of law and delay determination of what law applies. Opp. at 5-7. There is no

13 reason to wait. Choice of law is a purely legal question routinely decided on the pleadings. The

14 Court should apply Washington law now and dismiss Plaintiff’s claims under California’s

15 Consumer Legal Remedies Act (“CLRA”), False Advertising Law (“FAL”), and Unfair

16 Competition Law (“UCL”).

17          When the parties have contractually agreed on the governing law, courts apply Restatement

18 Section 187. See, e.g., Adams v. Hartz Mountain Corp., No. C14-1174, 2014 WL 7151781, at *6

19 (W.D. Wash. Dec. 15, 2014). Plaintiff ignores Section 187. She has therefore conceded that

20 Washington has a substantial relationship to this dispute and that Washington law is not contrary

21 to any fundamental California policy. See Amazon’s Motion (“Mot.”) at 8-9.

22          Plaintiff urges the Court to disregard the parties’ contractual choice of Washington law

23 because her California-law claims “arise in tort.” Opp. at 5. That is not the standard. Washington

24 courts “generally enforce contract choice of law provisions.” Schnall v. AT & T Wireless Services,

25 Inc., 171 Wn.2d 260, 266, 259 P.3d 129 (2011). The scope of a choice-of-law clause is determined

26 by “the objective manifestations of the[] agreement—i.e., the actual words used….” Carideo v.

27 Dell, Inc., 706 F. Supp. 2d 1122, 1127 (W.D. Wash. 2010). A broadly framed clause encompasses

28 tort and consumer protection claims. See, e.g., Wash. Land Dev. v. Lloyds TSB Bank, PLC, No.
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 1 C14-0179-JCC, 2014 WL 3563292, at *4 (W.D. Wash. July 18, 2014) (“broad” contractual choice-

 2 of-law clause applies to consumer protection claim); Carideo, 706 F. Supp. 2d at 1128 (broad

 3 clause covering “all claims or disputes” includes tort and consumer protection claims). Amazon’s

 4 expansive clause provides that Washington law governs “any dispute of any sort that might arise

 5 between you and Amazon.” Buckley Decl. Ex. A at 4 (emphasis added). That provision is broader

 6 than the clauses addressed in Lloyds and Carideo and certainly covers Plaintiff’s California-law

 7 claims. Indeed, in Wiseley, the Ninth Circuit applied Section 187 and concluded that the COUs’

 8 choice-of-law clause applied to Amazon customers’ California consumer protection claims. 709

 9 F. App’x at 863-64.

10             Plaintiff asks the Court instead to apply Restatement Section 145’s “most significant

11 relationship” test. Opp. at 5. But Washington courts analyze conflict of laws only if there is “an

12 actual conflict between the laws or interests of Washington” and the other state; absent such a

13 conflict, “the presumptive local law applies.” Lloyds, 2014 WL 3563292, at *2. “Washington’s

14 and California’s consumer protection laws … appear to be substantially similar,” so Plaintiff does

15 not and cannot identify any “actual conflict.”                    Wiseley, 709 F. App’x at 863.                Therefore,

16 Washington law presumptively applies.

17             In any event, Section 145 compels the same conclusion. Amazon is headquartered and

18 conducts “substantial business” in Washington. CAC ¶¶ 2, 5. The allegedly “fraudulent acts

19 occurred here where [Amazon], and thus the relationship[,] is centered.”1                                  Haberman v.

20 Washington Pub. Power Supply Sys., 109 Wn.2d 107, 160, 744 P.2d 1032 (1987). The parties’

21 choice-of-law clause further favors Washington. Id. Plaintiff proposes a scattershot approach

22 because injury allegedly occurs wherever Plaintiff and absent class members “accessed the

23 Amazon website.” Opp. at 7. But even that impractical approach favors enforcing the choice-of-

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         Plaintiff attempts to distinguish Garner v. Amazon.com, Inc., 603 F. Supp. 3d 985, 994 (W.D. Wash. 2022), which
25 challenges Amazon’s Alexa voice service under state wiretap laws. There, the court enforced the COU’s choice-of-
     law clause because Amazon conducts business in Washington, even though millions of Alexa devices were sold to
26 customers around the country. The same is true here; the business practices Plaintiff challenges occurred in
     Washington, even if they allegedly impacted customers in other states. Moreover, the only issue here is what law
27 applies to Plaintiff, not to millions of absent class members. (In Garner there were over 20 representative plaintiffs
     from nine different states, asserting the laws of those states.) Notably, Plaintiff does not argue that California has the
28 most significant relationship to this dispute (because it does not).
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 1 law clause and applying the laws of Amazon’s home state to uniformly govern Amazon’s

 2 transactions with its nationwide customer-base. See Kelley v. Microsoft Corp., 251 F.R.D. 544,

 3 552 (W.D. Wash. 2008) (because “[d]efendant’s allegedly unfair or deceptive acts caused injury

 4 throughout the country,” “[t]he location of the harm suffered is fortuitous” and “of lower

 5 importance”).

 6          Plaintiff asks the Court to put off its choice-of-law decision indefinitely. Opp. at 6. She

 7 manufactures dubious “factual” questions, i.e., whether the choice-of-law clause was “in all

 8 versions of the COUs applicable during the class period” and whether “class members had notice

 9 of the COUs through their use of the Amazon website.” Opp. at 6. First, these issues are irrelevant

10 because this is not yet a class action and Plaintiff admits that she agreed to the clause. Cf. Hawkins

11 v. Comparet-Cassani, 251 F.3d 1230, 1238 (9th Cir. 2001) (“A named plaintiff cannot represent a

12 class alleging [] claims that the named plaintiff does not have standing to raise.”). Second, courts

13 routinely address choice-of-law issues on a motion to dismiss. See, e.g., Lloyds, 2014 WL 356329,

14 at *1; Garner, 603 F. Supp. 3d 985 at 994 (applying Washington law because “there is no reason

15 to delay making the choice of law determination”). Indeed, as the Court noted when it stayed

16 discovery, “Defendant’s motion to dismiss (Dkt. No. 51) does not involve disputed factual issues.”

17 Dkt. No. 55 at 2. If any part of this case were to survive dismissal, the Court should properly

18 narrow the issues by enforcing the parties’ choice of Washington law and dismissing Plaintiff’s

19 California claims.

20 II.      AMAZON DID NOT ENGAGE IN “DECEPTIVE ADVERTISING.”

21          Plaintiff concedes that Rule 9(b) applies to her Washington Consumer Protection Act

22 (“WCPA”), CLRA, FAL, UCL, negligent misrepresentation, concealment, and fraud claims. Opp.

23 at 7. Yet the CAC offers no facts about when or where Plaintiff was supposedly “deceived” by

24 Amazon’s statements about “FREE Delivery” and “FREE 2-Hour Grocery Delivery”—which are

25 the centerpiece of this lawsuit—or when Amazon made those statements. This failure requires

26 dismissal. See Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1133 (9th Cir. 2013) (fraud claim

27 dismissed because plaintiffs “do not identify when Defendants made the representations that

28 Plaintiffs purport to be false”); Bishay v. Icon Aircraft, Inc., No. 2:19-CV-00178, 2019 WL
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 1 3337885, *6 (E.D. Cal. July 25, 2019) (CLRA and UCL claims dismissed because “plaintiff never

 2 alleges when or where he viewed the advertisement that allegedly prompted him to enter into this

 3 contract”).

 4          Plaintiff also concedes that the CAC conflates different Amazon services. The challenged

 5 statements sometimes refer to Amazon’s package shipping service and Amazon Fresh grocery

 6 delivery, not WFM delivery. Mot. at 11; CAC ¶ 9. Thus, Plaintiff has not even properly alleged

 7 the context for those statements, let alone that they were false and support her specific claims.

 8 Plaintiff’s fraud allegations do not satisfy Rule 9(b)’s exacting requirements.

 9          Plaintiff claims that these statements “induced [reasonable consumers] to sign up for the

10 Amazon Prime service or continue use of the service.” Opp. at 10. But the CAC alleges no such

11 thing; it refers only to WFM delivery purchases, not Prime membership purchases. See CAC ¶ 61

12 (Amazon’s misconduct allegedly “induce[d] Plaintiff’s and Class Members’ purchases of Whole

13 Foods grocery deliveries”), ¶ 51 (service fee allegedly “would have changed … decision to

14 purchase Defendant’s grocery delivery service”). The CAC does not say when or why Plaintiff

15 joined Prime, or that she joined based on these statements. The Court cannot “look beyond the

16 [CAC] to [] [P]laintiff’s moving papers” on a motion to dismiss. Schneider v. Cal. Dep’t of Corr.,

17 151 F.3d 1194, 1197 n.1 (9th Cir. 1998).

18          Finally, Plaintiff does not deny that the Prime Terms disclose that Amazon can remove

19 Prime benefits at its discretion. CAC, Ex. 1 at 2. Amazon’s clear disclosures are sufficient as a

20 matter of law and defeat Plaintiff’s claims of “deception.” Mot. at 13; see Gray v. Amazon.com,

21 Inc., No. 2:22-cv-800-BJR, 2023 WL 1068513, at *8 (W.D. Wash. Jan. 27, 2023) (“Plaintiffs may

22 not premise a CPA claim on the disclosures contained in Amazon’s policies.”).

23          The Opposition cites two cases holding that corrective fine print on the back of product

24 packaging cannot negate deceptive statements on the front. See Opp. at 10-11. But, here, there is

25 no deceptive “front-back” dichotomy because, as discussed, Plaintiff has not adequately alleged

26 any representations that were “false or deceptive when made.” Sateriale v. R.J. Reynolds Tobacco

27 Co., 697 F.3d 777, 794 (9th Cir. 2012); Hawley v. Bus. Comput. Training Inst., Inc., No. C08-

28 5055, 2008 WL 2048325, at *4 (W.D. Wash. May 9, 2008). The Ninth Circuit confirmed this
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 1 distinction: only “if the defendant commits an act of deception, the presence of fine print revealing

 2 the truth is insufficient to dispel that deception.” Ebner v. Fresh, Inc., 838 F.3d 958, 966 (9th Cir.

 3 2016) (dismissing packaging-based claim because there is “no deceptive act to be dispelled”).

 4 III.     AMAZON DID NOT ENGAGE IN “BAIT-AND-SWITCH ADVERTISING.”

 5          Plaintiff’s “bait-and-switch” theory also fails under Rule 9(b) because she says nothing

 6 about her experience on Amazon’s website, or what she saw or relied on. See Simon v. Seaworld

 7 Parks & Entm’t, Inc., No. 3:21-cv-1488, 2022 WL 1594338, at *4 (S.D. Cal. May 19, 2022)

 8 (claims failed under Rule 9(b) because plaintiff claimed he visited defendant’s website but did not

 9 allege “what statements he saw there”).

10          This theory fails for another reason: Amazon indisputably discloses the service fee during

11 the online shopping process, no fewer than four times before a customer checks out. On the WFM

12 landing page, Amazon shows the retail price of the item. Plaintiff complains that Amazon does

13 not disclose the service fee on the first page. CAC ¶ 16. But if a consumer navigates to a specific

14 item, Amazon immediately discloses “$9.95 for 2-hour delivery” just below the “Add to Cart”

15 button. Id. ¶ 17. After a customer adds an item to her cart, the shopping cart page again states,

16 “Get 2-hour delivery for $9.95.” Buckley Decl., Ex. E. A customer must then click on a call-to-

17 action button specifically labelled “$9.95” next to her desired delivery time. Id., Ex. F. And even

18 if a customer somehow missed all of those disclosures, the final checkout page shows “Service

19 Fee: $9.95” below the “Place your order” button. CAC ¶ 18.

20          The Opposition relies on another inapposite case, Hall v. Marriott Int’l, Inc., where a “bait-

21 and-switch” theory survived because the defendant “fail[ed] to disclose the resort fee until a

22 consumer is invested in the booking process.” No. 19-CV-1715, 2020 WL 4727069, at *8 (S.D.

23 Cal. Aug. 14, 2020). But that fee was not for a separate, optional service; it was an unavoidable

24 part of the room price. Here, by contrast, Amazon immediately discloses the optional WFM

25 delivery fee when a consumer browses an item—just one click away from the landing page—

26 before anything goes in the cart. CAC ¶ 17. There is no “bait-and-switch” when a consumer

27 agrees to pay a fee after multiple disclosures of that fee. See Kelly v. BP W. Coast Prods. LLC,

28 No. 2:14-cv-01507, 2014 WL 7409220, at *8 (E.D. Cal. Dec. 29, 2014) (no bait-and-switch where
     REPLY ISO MTN TO DISMISS                           -6-                        FENWICK & WEST LLP
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 1 gas station advertised only the price of gasoline then charged a debit-card fee at the pump, because

 2 it “always intended to sell gasoline for the price advertised,” charged a fee only if the customer

 3 chose to use a debit card, and “required each customer’s consent before charging that fee”); see

 4 also Mot. at 14-16.

 5          Nor does Plaintiff plead reliance. She alleges that Amazon’s website fails to adequately

 6 disclose the delivery fee, but the CAC “only provided ‘excerpts’ from [certain] webpages without

 7 explaining precisely which webpages had been viewed by [P]laintiff[], … or whether [she] had

 8 relied on them.” In re Google AdWords Litig., No. C 08-03369, 2011 WL 7109217, *4 (N.D. Cal.

 9 Mar. 17, 2011). Moreover, Plaintiff’s reliance (if any) would be unreasonable as a matter of law

10 because “the existence of the [service] fee was ‘within [Plaintiff’s] observation,’” yet Plaintiff

11 “closed h[er] eyes to avoid discovery of the truth.” Davis v. HSBC Bank, 691 F.3d 1152, 1163-64

12 (9th Cir. 2012). For these same reasons, Plaintiff also fails to link Amazon’s alleged “bait-and-

13 switch” scheme to her purported injury under the WCPA. Mot. at 17-18; Gray, 2023 WL 1068513,

14 at *8.

15 IV.      AMAZON DID NOT BREACH THE CONTRACT.

16          Plaintiff claims that Amazon breached the Prime Terms by charging a fee for WFM

17 deliveries. But she concedes, as she must, that the Prime Terms never mention, let alone promise,

18 free WFM deliveries. To the contrary, the Prime Terms expressly provide that Amazon can change

19 or remove Prime membership benefits at its discretion. Instead, Plaintiff retreats to an “extra-

20 contractual representation” theory, arguing that the statements “FREE Delivery” and “FREE 2-

21 hour grocery delivery” somehow became part of the Prime Terms. Opp. at. 15. That argument

22 also fails.

23          In Washington, extrinsic evidence may be used only “to determine the meaning of specific

24 words and terms used” but “not to … ‘vary, contradict or modify the written [contract].’” Hearst

25 Commc’ns, Inc. v. Seattle Times, 154 Wn.2d 493, 503, 115 P.3d 262 (2005) (emphases added).

26 Plaintiff improperly invokes extrinsic facts to vary the express terms of the contract. The Prime

27 Terms unambiguously state that Amazon can “remove Prime membership benefits” and “change

28 … any aspect of Prime membership.” CAC, Ex. 1 at 2. Amazon was contractually entitled to
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 1 remove the free WFM delivery Prime benefit. Therefore, the Court should decline to consider

 2 Plaintiff’s extra-contractual statements, which “flatly contradict[]” the “clear language” in the

 3 contract. Drut Techs., Inc. v. Microsoft Corp., No. 2:21-cv-01653, 2022 WL 2156962, at *4 (W.D.

 4 Wash. June 15, 2022).

 5             Plaintiff relies on Accretive Tech. Grp., Inc. v. Adobe Sys., Inc., No. C15-309, 2015 WL

 6 4920079 (W.D. Wash. Aug. 17, 2015), for the proposition that contract integration tends to be a

 7 factual question. But whether the Prime Terms and COUs are “integrated” is irrelevant. Accretive

 8 aligns with Washington law that only “extra-contractual evidence that does not contradict terms

 9 of the contract may be considered.” Id. at *7 (emphasis added). And, while the Accretive plaintiff

10 alleged that the contract “was … not the final or comprehensive embodiment of the terms of the

11 transaction between the parties,” the CAC makes no such factual allegation as to the Prime Terms.

12 Id. at *5. The CAC’s conclusory allegation that the two statements “were integrated” into the

13 contract is insufficient. CAC ¶ 121.

14             When it removed the WFM delivery benefit, Amazon exercised its contractual rights and

15 did not breach the Prime Terms or modify the contract. See Nye v. Univ. of Wash., 163 Wn. App.

16 875, 886, 260 P.3d 1000 (2011) (contract can be changed “when the provisions of that contract

17 allow for the modification”). But even if the change did constitute a modification, Plaintiff

18 concedes that a terminable-at-will contract can be unilaterally modified. Opp. at 17. And if a

19 party forgoes the right to terminate after notice of such a unilateral modification, that is sufficient

20 consideration. Mot. at 19. The Prime Terms state that Plaintiff can cancel her Prime membership

21 at “any time.”2 See CAC, Ex. 1 at 1, 3. And the CAC does not allege that Plaintiff lacked notice

22 of the delivery fee. See Gray, 2023 WL 1068513 at *5 (rejecting plaintiffs’ lack of notice

23 argument; “[n]owhere do [p]laintiffs allege that they … lacked notice of [the policies]”). To the

24 contrary, the CAC confirms that Amazon “sent … U.S. customers an email saying it was going to

25
     2
         Plaintiff claims that “Prime members who wanted to cancel their membership due to the imposition of the service
26 fee, but who had used Amazon’s Prime service even once during their annual membership would not be allowed to
     terminate the agreement and receive a refund.” Opp. at 18. Prime members can always cancel; if they have enjoyed
27 Prime benefits, they might not be entitled to a full refund, but that is a separate issue. Plaintiff does not allege that she
     tried to cancel Prime, or that she sought but was denied a full refund. By continuing to use Prime after knowing she
28 would be charged a WFM delivery fee, Plaintiff consented to any alleged “modification” of the contract.
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 1 charge $9.95 per delivery,” and that Amazon discloses “$9.95 for 2-hour delivery” on its website.

 2 Buckley Decl. Ex. D; CAC ¶ 17. In sum, Plaintiff’s ill-conceived “integration” and “unilateral

 3 modification” theories cannot save her contract claim.

 4          Plaintiff’s tacked-on “implied covenant” claim is equally unavailing. Plaintiff identifies

 5 no “terms agreed to by the parties” from which the implied covenant could arise. Badgett v. Sec.

 6 State Bank, 116 Wn.2d 563, 569, 807 P.2d 356 (1991). And, as addressed above, the CAC alleges

 7 no extra-contractual statement “integrated” into the Prime Terms. “As a matter of law, there cannot

 8 be a breach of the duty of good faith when [Amazon] simply stands on its rights” to remove Prime

 9 membership benefits “according to [the contract’s] terms.” Id. at 570.

10          Plaintiff argues that whether Amazon acted “reasonably” in “charging a $9.95 service fee

11 … is a question of fact,” citing Skansgaard v. Bank of Am., N.A., 896 F. Supp. 2d 944 (W.D. Wash.

12 2011). Opp. at 19. In Skansgaard, a key contract term was ambiguous such that the reasonableness

13 of defendant’s actions was a factual question. 896 F. Supp. 2d at 947-48. But where the contract

14 “unambiguously permit[s] [one party]” to do something, and that party’s contractual right is “not

15 subject to any conditions,” then there is “no room for the exercise of discretion” and “nothing to

16 which to apply the covenant of good faith.” Goodyear Tire & Rubber Co. v. Whiteman Tire, Inc.,

17 86 Wn. App. 732, 740-41, 935 P.2d 628 (1997). The Prime Terms unambiguously allow Amazon

18 to “add or remove Prime membership benefits”; thus, the implied covenant of good faith is

19 irrelevant because Plaintiff cannot “contradict express terms in a contract” through an implied

20 covenant. Gray, 2023 WL 1068513, at *4-5 (dismissing breach of implied covenant claim because

21 Amazon’s policies authorized the conduct at issue); accord Goodyear Tire, 86 Wn. App. at 741.

22 V.       PLAINTIFF’S UNJUST ENRICHMENT CLAIM FAILS.

23          Plaintiff does not deny that her unjust enrichment claim fails if there is a valid contract.

24 See Opp. at 20. Still, she argues that the claim should survive as an “alternative theory of liability.”

25 Id. It should not. The CAC never pleads unjust enrichment in the “alternative.” See generally

26 CAC; cf. Schneider, 151 F.3d at 1197 n.1. Furthermore, under Washington law, a plaintiff cannot

27 plead unjust enrichment in the alternative if she seeks to enforce a valid contract. See Minnick v.

28 Clearwire US, LLC, 683 F. Supp. 2d 1179, 1187 (W.D. Wash. 2010). Plaintiff cannot credibly
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 1 argue that the Prime Terms are invalid when this lawsuit is premised entirely on Plaintiff’s Prime

 2 membership. Consequently, Plaintiff “is bound by the provisions of [the Prime Terms]” and

 3 cannot “bring an action on an implied contract relating to the same matter, in contravention of the

 4 express contract.” Chandler v. Washington Toll Bridge Auth., 17 Wn.2d 591, 604, 137 P.2d 97

 5 (1943); Reading Hosp. v. Anglepoint Grp., Inc., No. C15-0251, 2015 WL 13145347, at *2 (W.D.

 6 Wash. May 26, 2015) (unjust enrichment claim barred because it was “‘about’ the same subject

 7 matter that is governed by the contract”).

 8 VI.      IMPROPER ALLEGATIONS SHOULD BE STRICKEN FROM THE CAC.

 9          Amazon asked the Court to strike from the CAC an improper proposed class and

10 allegations related to harm that Plaintiff never suffered. See Mot. at 22-24. Plaintiff’s response is

11 that those issues will not cause Amazon any “prejudice.” Opp. at 21. But “Rule 12(f) says nothing

12 about a showing of prejudice and allows a court to strike material sua sponte.” Atlantic Richfield

13 Co. v. Ramirez, 176 F.3d 481, 481 (9th Cir. 1999). Courts regularly grant motions to strike without

14 any demonstration of prejudice to the moving party. See Mot. at 22-24.

15          Nevertheless, Amazon is prejudiced by “redundant, immaterial, [and] impertinent”

16 allegations in the CAC. Plaintiff’s second proposed nationwide class should be stricken as

17 redundant of her first proposed class. See Ramirez, 176 F.3d at 481; Mot. at 22-23. Plaintiff

18 counters that the second proposed class consists of “consumers who did not pay the service fee.”

19 Opp. at 22. But that directly contradicts the CAC and covers absent class members who cannot

20 possibly satisfy Plaintiff’s own definition of injury. See CAC ¶ 30 (“Plaintiff and the Class …

21 suffered loss in an amount equal to the deceptively advertised service fees …”), ¶ 37 (“Plaintiff

22 and the Class members all purchased Whole Foods grocery deliveries …”) (emphases added).

23 Under her own theory of harm, class members in the second proposed nationwide class have “[n]o

24 concrete harm, no standing.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2214 (2021). No

25 amount of discovery would “produce persuasive information substantiating the[se] class action

26 allegations.” Cashatt v. Ford Motor Co., No. 3:19-cv-05886, 2021 WL 1140227, at *1 (W.D.

27 Wash. Mar. 24, 2021).

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 1          The Court should also strike Plaintiff’s allegations about package delivery delays and the

 2 optional tip. Plaintiff admits that she was not impacted by either of those alleged issues. See Opp.

 3 at 23. Consequently, those issues are not “background” for Plaintiff’s claims; they are irrelevant

 4 and baseless attacks on Amazon. A defendant is prejudiced by “superfluous pleadings,” which

 5 “unnecessarily complicate[]” issues for the trier of fact. Perez v. Guardian Roofing, No. 3:15-cv-

 6 05623, 2016 WL 898545, at *3 (W.D. Wash. Mar. 9, 2016).

 7                                           CONCLUSION

 8          Amendment would be futile because Plaintiff’s legal theories are fundamentally flawed

 9 and cannot be saved. The Court should dismiss the CAC in its entirety, with prejudice.

10           Dated: March 3, 2023                Respectfully submitted,

11                                                FENWICK & WEST LLP

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 1                          LCR 7(e) WORD-COUNT CERTIFICATION

 2          As required by Western District of Washington Local Civil Rule 7(e), I certify that this

 3 memorandum contains 4,062 words.

 4                                               Dated: March 3, 2023

 5                                                FENWICK & WEST LLP

 6

 7                                               By: /s/ Brian D. Buckley
                                                     Brian D. Buckley, WSBA No. 26423
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